                                                    Case 3:09-cv-04061-CRB Document 21 Filed 03/31/11 Page 1 of 11



                                           1
                                           2
                                           3
                                           4
                                           5
                                           6
                                           7
                                           8
                                                                         IN THE UNITED STATES DISTRICT COURT

                                           9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                          10
For the Northern District of California




                                          11   CAROLYN S. POE,                                      No. C 09-04061 CRB
    United States District Court




                                          12                    Plaintiff,                          ORDER DENYING PLAINTIFF’S
                                                                                                    MOTION FOR SUMMARY
                                          13        v.                                              JUDGMENT OR REMAND AND
                                                                                                    GRANTING DEFENDANT’S MOTION
                                          14   MICHAEL J. ASTRUE,                                   FOR SUMMARY JUDGMENT
                                          15                    Defendant.
                                                                                               /
                                          16
                                          17             This is a lawsuit seeking review of the Social Security Commissioner’s denial of
                                          18   Plaintiff’s request for long-term disability benefits (“SSI”). Before the Court are two
                                          19   motions: (1) Plaintiff’s Motion for Summary Judgment or Remand, and (2) Defendant’s
                                          20   Cross-Motion for Summary Judgment. For the reasons below, the Court DENIES Plaintiff’s
                                          21   Motion and GRANTS Defendant’s Motion.
                                          22   I.        BACKGROUND
                                          23             A.     Plaintiff’s Disability Claim
                                          24             Plaintiff Carolyn Poe (“Poe”) filed an application with the Social Security
                                          25   Administration (“SSA”) on September 27, 2005 seeking disability insurance benefits and
                                          26   alleging disability since May 19, 2005 due to rheumatoid arthritis, asthma, and anxiety
                                          27   attacks. AR 72, 89. Prior to the time Plaintiff alleges she became unable to work, she had
                                          28   worked as an administrative secretary for approximately 10 years and as a retail assistant
                                               manager for approximately 2 years. Id. at 90, 99.
                                                  Case 3:09-cv-04061-CRB Document 21 Filed 03/31/11 Page 2 of 11



                                           1             B.     Medical Evidence
                                           2             Plaintiff sought treatment on July 27, 2005 at the West Oakland Health Center
                                           3   because she had run out of asthma medication. AR 204. A nurse diagnosed Plaintiff with
                                           4   hypertension, asthma, and obesity. Id. On September 19, 2005, Plaintiff returned to the
                                           5   Health Center and requested disability paperwork, but the nurse told Plaintiff they could
                                           6   discuss it during her next scheduled appointment on September 28, 2005. Id. at 205. During
                                           7   the September 28 appointment, Plaintiff reported aching “all over,” a burning sensation in
                                           8   her throat, swollen ankles, and an inability to stand due to pain. Id. at 201-02. The nurse
                                           9   diagnosed Plaintiff with hypertension, obesity, and acid reflux disorder. Id. at 200. Plaintiff
                                          10   was prescribed medication and a follow-up appointment was scheduled, but Plaintiff
For the Northern District of California




                                          11   ultimately cancelled the appointment and missed two rescheduled follow-ups. Id. at 198-99.
    United States District Court




                                          12
                                                         On December 5, 2005, at SSA’s request, Plaintiff saw Mark Pierce, Ph.D. for a
                                          13
                                               psychological examination in relation to her benefits claim. Id. at 150-55. Dr. Pierce
                                          14
                                               concluded that Plaintiff had not participated in the evaluation in good faith, which hampered
                                          15
                                               his ability to accurately determine her intellectual functioning. Id. at 152. Dr. Pierce
                                          16
                                               ultimately assessed Plaintiff as possessing the capacity for medium-demand vocational tasks
                                          17
                                               and the reasoning capacity for medium or higher levels of vocational functioning. Id. at 154.
                                          18
                                                         December 21, 2005, Plaintiff obtained a physical examination from Dr. Feng Bai,
                                          19
                                               M.D., also at the request of SSA. Id. at 157-65. Dr. Bai opined that Plaintiff could carry 10
                                          20
                                               pounds frequently and 20 pounds occasionally; that she could either stand or sit for up to 6
                                          21
                                               hours in an 8-hour workday; that she had no manipulative or pushing/pulling limitations; that
                                          22
                                               she was unable to climb, stoop, kneel, or crouch; and that she should alternate sitting and
                                          23
                                               standing, stretch, and change positions after standing or walking for more than one hour. Id.
                                          24
                                               at 162.
                                          25
                                          26             In May of 2006, Plaintiff returned to the Health Center, stating that she had been out

                                          27   of her hypertension and asthma medications for more than one week. Id. at 222. The nurse

                                          28   noted that Plaintiff’s blood pressure was uncontrolled due to non-adherence to the


                                                                                                 2
                                                  Case 3:09-cv-04061-CRB Document 21 Filed 03/31/11 Page 3 of 11



                                           1   medication regime. Id. Plaintiff returned for a scheduled appointment in June 2006, and
                                           2   reported decreased anxiety with medication and no caffeine. Id. at 221. However, the nurse
                                           3   noted that Plaintiff had not taken her hypertension medication that day. Id. Plaintiff returned
                                           4   two weeks later for a blood pressure check, at which time her blood pressure was
                                           5   “uncontrolled.” Id. at 220. The nurse recommended Plaintiff remain at the Health Center to
                                           6   normalize her blood pressure, but Plaintiff declined and left untreated. Id.
                                           7          At a routine appointment in August of 2006, Plaintiff complained of pain in her hands
                                           8   and knees, as well as of anxiety attacks. Id. at 218. The nurse recommended exercise, stress
                                           9   management, reduced salt intake, and counseling. Id. A follow-up appointment was
                                          10   scheduled but Plaintiff did not appear. Id. at 214.
For the Northern District of California




                                          11
                                                      Plaintiff changed health care providers in November of 2006. On November 3, she
    United States District Court




                                          12
                                               had an initial appointment at Alameda County Medical Center with Dr. Soong, during which
                                          13
                                               she complained of joint pain and stiffness and related her history of hypertension, asthma,
                                          14
                                               anxiety, and obesity. Id. at 231. Dr. Soong diagnosed her with high blood pressure, joint
                                          15
                                               pain, obesity, GERD, and asthma, and recommended that she lose weight, continue taking
                                          16
                                               Motrin, consult with a nutritionist, avoid foods that trigger gastric reflux, use an inhaler as
                                          17
                                               needed, and return in 1-2 months for a follow-up. Id. at 231-32.
                                          18
                                                      In April of 2007, Plaintiff returned to the Medical Center with a sinus infection. She
                                          19
                                               reported that she felt better overall, that her mood had improved, and that her asthma was
                                          20
                                               stable with use of the albuterol inhaler. Id. at 229. However, Plaintiff had not been taking
                                          21
                                               her hypertension medication, as the prescription had run out one month prior to the
                                          22
                                               appointment. Id. Plaintiff complained of pain in her hand, but x-rays of her hand taken by
                                          23
                                               Dr. Snowden on April 26, 2007 showed the joint spaces to be “well-maintained.” Id. at 236.
                                          24
                                               Dr. Snowden directed Plaintiff to continue with her medications and to restart her
                                          25
                                               hypertension medication. Id. at 230. Dr. Snowden also offered Plaintiff a referral to a
                                          26
                                               nutritionist, but she declined. Id. Plaintiff switched to a new hypertension medication, but
                                          27
                                               reported that it made her feel “tingly,” so she was placed back on the original medication. Id.
                                          28


                                                                                               3
                                                  Case 3:09-cv-04061-CRB Document 21 Filed 03/31/11 Page 4 of 11



                                           1   at 227-28. Plaintiff declined a change in medication for depression. Id. She was scheduled
                                           2   for a follow-up in May 2007 but did not appear. Id. at 225.
                                           3          C.     Adjudication by the ALJ
                                           4
                                                      At Plaintiff’s hearing before the ALJ on August 8, 2007, she testified that she was
                                           5
                                               unable to work due to pain and swelling in her joints, which caused her to spend six hours
                                           6
                                               per day lying on her back with her feet elevated. AR 274. The ALJ then elicited the
                                           7
                                               testimony of a vocational expert, who testified that Plaintiff’s prior work as an administrative
                                           8
                                               secretary was classified as “sedentary” but performed as “light” level work, while her prior
                                           9
                                               work as an assistant retail store manager was classified as “light” level work but performed
                                          10
                                               as “medium” level work. AR 289-90.
For the Northern District of California




                                          11
    United States District Court




                                                      At the hearing, Plaintiff’s counsel noted difficulty in obtaining records from Plaintiff’s
                                          12
                                               treating physician and requested that the administrative record be left open for Plaintiff to
                                          13
                                               submit additional medical evidence. Id. at 264. The ALJ agreed to leave the record open for
                                          14
                                               30 days, specifically for Plaintiff to submit a residual functional capacity (“RFC”)
                                          15
                                               assessment from her treating physician; however, the ALJ also noted that he would consider
                                          16
                                               any other general medical evidence Plaintiff submitted during the 30 days. Id. at 264. On
                                          17
                                               September 10, 2007, Plaintiff’s counsel requested until September 28 to fully develop the
                                          18
                                               record – the ALJ went beyond counsel’s request, permitting Plaintiff to submit additional
                                          19
                                               evidence until November 5, 2007. Id. at 17, 23. Plaintiff submitted additional records during
                                          20
                                               the post-hearing period, including x-rays and laboratory tests. Id. at 19.
                                          21
                                          22          On December 12, 2007, the ALJ issued a decision denying Plaintiff’s claim for

                                          23   disability insurance benefits. Id. at 17-22. The ALJ took notice of the additional records

                                          24   Plaintiff submitted following the hearing, but found their conclusions “unremarkable.” Id. at

                                          25   19. The ALJ based his decision primarily on the examinations performed by Dr. Pierce, Dr.

                                          26   Bai, and State examiners from the Disability Determination Service (“DDS”), as well as his

                                          27   review of Plaintiff’s medical records, which revealed she had sought only routine treatment

                                          28


                                                                                              4
                                                     Case 3:09-cv-04061-CRB Document 21 Filed 03/31/11 Page 5 of 11



                                           1   for asthma, no treatment at all for anxiety, and that there was no corroboration for her
                                           2   diagnosis of arthritis. Id. at 18-19.
                                           3            D.    Developments following ALJ’s decision
                                           4
                                                        On February 2, 2008, Plaintiff requested review of the ALJ’s decision, and was again
                                           5
                                               invited to submit additional evidence. Id. at 13. According to Plaintiff, she provided the
                                           6
                                               Appeals Council with records from her treating physician, Dr. Mapara, covering the years
                                           7
                                               2007-2009. Mem. P. & A. at 2 (dckt. no. 16). On March 6, 2009, the Appeals Council
                                           8
                                               declined to review the ALJ’s decision, finding that none of the relevant bases for review
                                           9
                                               applied, including the receipt of new and material evidence. Id. at 7.
                                          10
                                                        After being granted an extension of time to file a civil complaint, Poe commenced this
For the Northern District of California




                                          11
    United States District Court




                                               action on May 8, 2009, filing a Complaint in the Alameda Superior Court seeking judicial
                                          12
                                               review pursuant to 42 U.S.C. §§ 405(g) and 1383(c). The case was removed to this Court on
                                          13
                                               September 9, 2009 (dckt. no. 1) and Plaintiff filed her Motion for Summary Judgment or for
                                          14
                                               Remand on November 17, 2010 (dckt. no. 15); in support of the Motion, she filed a
                                          15
                                               Memorandum of Points and Authorities as well as a 2010 report from her treating physician,
                                          16
                                               Dr. Mapara (dckt. no. 16). Defendant filed a cross-Motion for Summary Judgment on
                                          17
                                               December 14, 2010 (dckt. no. 20).
                                          18
                                          19   II.      LEGAL STANDARDS

                                          20            A.    Summary Judgment
                                          21
                                                        Summary judgment is appropriate under Rule 56 of the Federal Rules of Civil
                                          22
                                               Procedure where there is an absence of a genuine issue of material fact and the moving party
                                          23
                                               is entitled to judgment as a matter of law. See Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett,
                                          24
                                               477 U.S. 317, 322 (1986). A fact is material when, under the governing substantive law, it
                                          25
                                               could affect the outcome of the case. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
                                          26
                                               (1986); Freeman v. Arpaio, 125 F.3d 732, 735 (9th Cir. 1997). There is no genuine issue of
                                          27
                                               material fact when a party, after adequate time for discovery, “fails to make a showing
                                          28


                                                                                               5
                                                  Case 3:09-cv-04061-CRB Document 21 Filed 03/31/11 Page 6 of 11



                                           1   sufficient to establish the existence of an element essential to that party’s case, and on which
                                           2   that party will bear the burden of proof at trial.” Celotex, 477 U.S. at 325.
                                           3          B.       Judicial Review of SSA Determinations
                                           4
                                                         The Social Security Commissioner’s findings of fact are conclusive, so long as they
                                           5
                                               are supported by substantial evidence. 42 U.S.C. § 405(g). Therefore, the Court’s scope of
                                           6
                                               review is limited to determining whether the denial of benefits is supported by substantial
                                           7
                                               evidence in the administrative record. Id.; see Flaten v. Sec’y of HHS, 44 F.3d 1453, 1457
                                           8
                                               (9th Cir. 1997). A district court may overturn a decision to deny benefits only if it is not
                                           9
                                               supported by substantial evidence or if the decision is based on legal error. Andrews v.
                                          10
                                               Shalala, 53 F.3d 1035, 1039 (9th Cir. 1995); Magallenes v. Bowen, 881 F.2d 747, 750 (9th
For the Northern District of California




                                          11
                                               Cir. 1989). The Ninth Circuit defines substantial evidence as “more than a mere scintilla but
    United States District Court




                                          12
                                               less than a preponderance . . . relevant evidence as a reasonable mind might accept as
                                          13
                                               adequate to support a conclusion.” Andrews, 53 F.3d at 1039 (internal citation omitted).
                                          14
                                               Determinations of credibility, resolution of conflicts in medical testimony and all other
                                          15
                                               ambiguities are to be resolved by the ALJ. Id.; Magallenes, 881 F.2d at 750. The decision of
                                          16
                                               the ALJ will be upheld even if the evidence is “susceptible to more than one rational
                                          17
                                               interpretation.” Andrews, 53 F.3d at 1040.
                                          18
                                                      In reviewing the SSA’s actions, courts are generally “confined to the original record
                                          19
                                               upon which the actions were based.” Rybacheck v. EPA, 904 F.2d 1276, 1296 n.25 (9th Cir.
                                          20
                                               1990). However, the Social Security Act provides a mechanism allowing courts to remand a
                                          21
                                               case to the agency upon a showing of “new evidence which is material . . . and good cause
                                          22
                                               for the failure to incorporate the evidence into the record in a prior proceeding.” 42 U.S.C. §
                                          23
                                               405(g).
                                          24
                                          25          C.       Standard for Determining Disability

                                          26          A person is “disabled” for purposes of receiving Social Security benefits if he or she is
                                          27   unable to engage in a substantially gainful activity due to a physical or mental impairment
                                          28   that has lasted for a continuous period of not less than twelve months. 42 U.S.C. §


                                                                                               6
                                                  Case 3:09-cv-04061-CRB Document 21 Filed 03/31/11 Page 7 of 11



                                           1   423(d)(1)(A). Social Security disability cases are evaluated under a five-step test. 20 C.F.R.
                                           2   §§ 404.1520(a)(4), 416.920(a)(4). In the first step, the ALJ must determine whether the
                                           3   claimant is currently engaged in substantial gainful activity. 20 C.F.R. § 404.1520(a)(4)(i).
                                           4   If the claimant is not so engaged, the second step requires the ALJ to determine whether the
                                           5   claimant has a “severe” impairment which significantly limits the claimant's ability to
                                           6   perform basic work activities. 20 C.F.R. § 416.920 (a)(4)(ii). If the ALJ concludes the
                                           7   claimant does not have a “severe” impairment, the claimant is not “disabled” and the claim is
                                           8   denied. Id. If the claimant does have a “severe” impairment, the third step requires the ALJ
                                           9   to determine whether the impairment meets or equals the criteria of an impairment listed in
                                          10   the relevant regulation. 20 CFR Part 404, subpart P, App. 1; 20 CFR § 404.1520(a)(4)(iii).
For the Northern District of California




                                          11   In the fourth step, the Commissioner must determine whether the claimant has sufficient
    United States District Court




                                          12   “residual functional capacity” to perform his or her past work. 20 CFR § 404.1520(a)(4)(iv).
                                          13   If so, the claimant is not “disabled” and the claim must be denied. Id. The claimant has the
                                          14   burden of proving that he or she is unable to perform past relevant work. Drouin v. Sullivan,
                                          15   966 F.2d 1255, 1257 (9th Cir. 1992). If the claimant meets this burden, he or she has
                                          16   presented a prima facie case of disability. Id. In the fifth step of the analysis, the burden
                                          17   shifts to the Commissioner to establish that the claimant can perform other substantial gainful
                                          18   work. 20 CFR § 404.1520(a)(4)(v). Otherwise, the claimant will be found disabled. Id.
                                          19   III.   DISCUSSION
                                          20
                                                      A.     The SSA’s determination was based on substantial evidence
                                          21
                                                      Plaintiff argues in her motion that the ALJ’s determination was not based on
                                          22
                                               substantial evidence because he “relied on reports from a doctor who did not perform a
                                          23
                                               thorough examination of Ms. Poe and failed to consider [her] treating physician’s
                                          24
                                               assessment[.]” Mem. P. & A. at 3. However, as discussed below, it was Plaintiff’s burden to
                                          25
                                               produce such evidence, and her failure to do so does not undermine the substantiality of the
                                          26
                                               other evidence the ALJ considered in making his decision.
                                          27
                                          28


                                                                                               7
                                                  Case 3:09-cv-04061-CRB Document 21 Filed 03/31/11 Page 8 of 11



                                           1          A district court may overturn the SSA’s decision to deny benefits only if it is not
                                           2   supported by substantial evidence or if the decision is based on legal error. Andrews, 53
                                           3   F.3d at 1039. As concerns the substantiality of evidence, more weight should be given to the
                                           4   opinion of a treating doctor than to that of a non-treating doctor, and more weight should be
                                           5   given to the opinion of an examining doctor than to that of a non-examining doctor. Winans
                                           6   v. Bowen, 853 F.2d 643, 647 (9th Cir. 1987); Pitzer v. Sullivan, 908 F.2d 502, 506 (9th Cir.
                                           7   1990). The Commissioner must provide “clear and convincing” reasons for rejecting the
                                           8   uncontradicted opinion of either a treating or examining doctor. Baxter v. Sullivan, 923 F.2d
                                           9   1391, 1396 (9th Cir. 1991); Pitzer, 908 F.2d at 506. Even if the opinion of a treating or
                                          10   examining doctor is contradicted by another doctor, the Commissioner may not reject this
For the Northern District of California




                                          11   opinion without providing “specific and legitimate reasons” supported by substantial
    United States District Court




                                          12   evidence in the record for so doing. Murray v. Heckler, 722 F.2d 499, 502 (9th Cir. 1983);
                                          13   Andrews, 53 F.3d at 1043.
                                          14          In his decision, the ALJ performed the statutory five-step evaluation described in the
                                          15   regulations accompanying the Social Security Act and based his determinations at each step
                                          16   on the reports of doctors Pierce and Bai, who directly evaluated Ms. Poe, along with the
                                          17   findings of the DDS physicians, testimony of vocational expert Dr. Wong, and the ALJ’s
                                          18   own in-court observation of Ms. Poe. AR 18-19.
                                          19
                                                      Furthermore, the ALJ did not “reject” the conclusion of a treating physician – no such
                                          20
                                               opinion was before him. Ms. Poe’s attorney, at the August 8, 2007 hearing, stated that she
                                          21
                                               hoped to submit the treating physician’s RFC assessment and other records within two weeks
                                          22
                                               of the hearing. AR 264. The ALJ held open the administrative record for an initial 30 days,
                                          23
                                               and upon a request from Plaintiff to extend the deadline to September 28, 2007, the ALJ
                                          24
                                               permitted submissions until November 5, 2007 – nearly three months after the hearing.
                                          25
                                               Despite these accommodations, Plaintiff never provided the ALJ with the treating physician
                                          26
                                               records whose absence Plaintiff now argues renders the other evidence unsubstantial. As
                                          27
                                               such, this case is distinguishable from those cited by Plaintiff. In Lester v. Chater, the ALJ
                                          28
                                               rejected the opinion of both a treating physician and an examining psychologist and provided

                                                                                              8
                                                    Case 3:09-cv-04061-CRB Document 21 Filed 03/31/11 Page 9 of 11



                                           1   no well-supported reasons for doing so. 81 F.3d 821, 832-33 (9th Cir. 1995). Likewise, in
                                           2   Orgeta v. Chater, the district court reversed the denial of benefits because the ALJ
                                           3   completely disregarded the uncontradicted opinion of the Plaintiff’s sole treating physician,
                                           4   which was included in the record. 933 F.Supp. 1071, 1074-76 (S.D. Fla. 1996). Even had
                                           5   Dr. Mapara’s reports been before the ALJ, their conclusions were contrary to the manifest
                                           6   weight of evidence in the record – there is no reason to believe that consideration of the
                                           7   reports would have produced a different result.
                                           8           Relying, as he did, on the opinion of two examining doctors, DDS physicians, a
                                           9   vocational expert, and the records provided him, the ALJ based his conclusion on far more
                                          10   than a “mere scintilla” of evidence. Andrews, 53 F.3d at 1039. Analysis of the ALJ’s
For the Northern District of California




                                          11   determination in light of the applicable evidentiary standard supports granting summary
    United States District Court




                                          12   judgment in favor of Defendant.
                                          13
                                                       B.    Plaintiff’s new evidence does not warrant remand
                                          14
                                                       Pursuant to the Social Security Act, courts may remand a case to the agency upon a
                                          15
                                               showing of “new evidence which is material . . . and good cause for the failure to incorporate
                                          16
                                               the evidence into the record in a prior proceeding.” 42 U.S.C. § 405(g). The Supreme Court
                                          17
                                               has explained that the type of evidence that will warrant remand is evidence that was “not
                                          18
                                               available to the claimant at the time of the administrative proceeding and that [] might have
                                          19
                                               changed the outcome of the prior proceeding.” Melkonyan v. Sullivan, 501 U.S. 89, 98
                                          20
                                               (1991).
                                          21
                                          22           In her Motion, Poe seeks remand to the Commissioner of Social Security to consider a

                                          23   2010 report by Dr. Mapara, one of Poe’s treating physicians.1 As discussed below, however,

                                          24   the new evidence Poe offers is not material and Poe has shown no good cause for the failure

                                          25   to include it in the administrative record below.

                                          26   //
                                          27
                                                       1
                                                      None of Dr. Mapara’s reports were ever before the ALJ; however, according to Plaintiff, Dr.
                                          28   Mapara’s 2007-2009 reports were submitted to the Appeals Council while her application for review
                                               was pending. Mem. P. & A. at 2.

                                                                                               9
                                                 Case 3:09-cv-04061-CRB Document 21 Filed 03/31/11 Page 10 of 11



                                           1                 1.     The evidence is not material
                                           2          “Material evidence” is that which bears “directly and substantially on the matter in
                                           3   dispute.” Bruton v. Massanari, 268 F.3d 824, 827 (9th Cir. 2001). The Ninth Circuit also
                                           4   requires the claimant show that there is a “reasonable possibility that the new evidence would
                                           5   have changed the outcome of the administrative proceeding.” Booz v. Sec’y of Health &
                                           6   Human Servs., 734 F.2d 1378, 1380-81 (9th Cir. 1984).
                                           7
                                                      Plaintiff seeks remand to the SSA to consider a report by Dr. Mapara dated March 19,
                                           8
                                               2010 indicating that Ms. Poe had been unable to work for 12 months or more. See Mem. P.
                                           9
                                               & A., Ex. A. It is unclear to what extent the conclusion of the report is even relevant to the
                                          10
                                               ALJ’s determination that Plaintiff was not disabled prior to December 12, 2007 – the report
For the Northern District of California




                                          11
                                               was generated years after the decision. Furthermore, there was already substantial evidence
    United States District Court




                                          12
                                               before the ALJ which formed the basis of his determination – all of which directly
                                          13
                                               contradicts Dr. Mapara’s conclusion that Poe is unable to work. Thus there is no “reasonable
                                          14
                                               possibility” that this evidence, in light of its dubious relevance, would have produced a
                                          15
                                               different outcome in the administrative proceeding. Booz, 734 F.2d at 1380-81.
                                          16
                                               Accordingly, Dr. Mapara’s 2010 report is not “material” to the SSA’s decision below.
                                          17
                                                             2.     The Plaintiff has not shown good cause
                                          18
                                          19          Evidence warranting remand must not only be “material,” but the claimant must also

                                          20   show good cause for the failure to include the evidence in the administrative record. As

                                          21   discussed above, Dr. Mapara’s report is not material. However, even if it were, Plaintiff has

                                          22   not shown good cause.

                                          23          In general, the “good cause” standard is applied liberally in cases where no prejudice
                                          24   to the Secretary would result. Burton v. Heckler, 724 F.2d 1415, 1417-18 (1984). However,
                                          25   a claimant does not meet the good cause requirement by merely obtaining a more favorable
                                          26   report once his or her claim has been denied – to remand under those circumstances would
                                          27   render the good cause element “meaningless.” Key v. Heckler, 754 F.2d 1545, 1551
                                          28   (quoting Allen v. Sec’y of Health and Human Servs., 726 F.2d 1470, 1473 (9th Cir. 1984)).


                                                                                              10
                                                  Case 3:09-cv-04061-CRB Document 21 Filed 03/31/11 Page 11 of 11



                                           1   To demonstrate good cause, the claimant must demonstrate that the new evidence was
                                           2   unavailable earlier. Mayes, 276 F.3d at 463; see Melkonyan v. Sullivan, 501 U.S. at 98;
                                           3   Key, 754 F.2d at 1551. If the report was not unavailable, the claimant must at least establish
                                           4   good cause for not having sought the opinion earlier. Clem v. Sullivan, 894 F.2d 328, 332
                                           5   (9th Cir. 1990).
                                           6            Poe’s new evidence does not meet the “good cause” standard on these facts. The
                                           7   report was not “unavailable” in any meaningful sense at the time of the hearing – it simply
                                           8   did not yet exist. Additionally, her only argument that the standard has been met is that her
                                           9   attorney failed to obtain the report soon enough to present it at the hearing. Mem. P. & A. at
                                          10   5. However, as the record reveals, the ALJ held the administrative record open for nearly
For the Northern District of California




                                          11   three months following the hearing to allow Plaintiff to submit additional medical evidence –
    United States District Court




                                          12   an adequate period of time to obtain a report from Poe’s treating physician. Plaintiff offers
                                          13   no argument whatsoever to explain the delay in having obtained the report, or how a report
                                          14   from 2010 bears on a determination from 2007. Therefore, the new evidence submitted fails
                                          15   both the tests for materiality and for good cause.
                                          16
                                               IV.      CONCLUSION
                                          17
                                                        Because the SSA’s determination was based on substantial evidence, and Plaintiff has
                                          18
                                               failed to show that there is new material evidence and good cause for its prior exclusion, the
                                          19
                                               Court DENIES Plaintiff’s Motion for Summary Judgment or for Remand, and GRANTS
                                          20
                                               Defendant’s Motion for Summary Judgment.
                                          21
                                          22            IT IS SO ORDERED.

                                          23
                                          24
                                               Dated: March 31, 2011                                CHARLES R. BREYER
                                          25                                                        UNITED STATES DISTRICT JUDGE
                                          26
                                          27
                                          28


                                               G:\CRBALL\2009\4061\order re MSJ.wpd           11
